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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS
FAYETTEVILLE DIVISION

UNITED STATES OF AMERICA PLAINTIFF

V. CASE NO. 5:21-CR-50014

JOSHUA JAMES DUGGAR DEFENDANT
ORDER

Currently before the Court is the Government's Motion for Order for Issuance of
Trial Subpoena Pursuant to Rule 17(c) (Doc. 75). The Court finds that good cause exists
for granting this Motion under Fed. R. Civ. P. 17(c)(1). IT IS THEREFORE ORDERED
that the Government's Motion is GRANTED. The Clerk of the Court is DIRECTED to
issue the subpoena as requested in the Motion and provide such to the Government for
service.
Regions Bank is to produce by no later than November 15, 2021, the records
described in the subpoena to the following address:
Chambers of the Honorable Timothy L. Brooks
John Paul Hammerschmidt Federal Building
35 East Mountain, Room 559
Fayetteville, Arkansas 72701
Upon receipt of these documents, the Court will notify counsel for both parties and
make all documents available for inspection and copying, as per Federal Rule of Criminal

Procedure 17(c)(1). +h

IT IS SO ORDERED on this 3 day of Novemb

  

 

 
